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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 2:20-cv-23221-KMM

DREIJAH J. MUHAMMAD-ALI,

       Petitioner,
v.

“11TH CIR. U.S. DISTRICT [30303],” et al.,
ET AL.,

       Respondents.
                                                /

                     ORDER ON REPORT AND RECOMMENDATION

       THIS CAUSE came before the Court upon Petitioner Dreijah J. Muhammad-Ali’s pro se

Petition for Writ of Habeas Corpus. (“Pet.”) (ECF No. 1). 1 The matter was referred to the

Honorable Lisette M. Reid, United States Magistrate Judge, who issued a Report and

Recommendation recommending that Petitioner’s Petition be TRANSFERRED to the United

States District Court for the Middle District of Alabama. (“R&R”) (ECF No. 5). Petitioner filed

objections. (“Objs.”) (ECF No. 6). The matter is now ripe for review. As set forth below, the

Court ADOPTS the R&R.

       The Court may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3).

The Court “must determine de novo any part of the magistrate judge’s disposition that has been

properly objected to.” Fed. R. Civ. P. 72(b)(3). A de novo review is therefore required if a party

files “a proper, specific objection” to a factual finding contained in the report. Macort v. Prem,


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 In the Petition, Petitioner does not identify whether he files the Petition under 28 U.S.C. 2241 or
2254. Nevertheless, it is immaterial under which section Petitioner filed the Petition because, as
set forth herein, the Court finds that it does not have jurisdiction to consider the Petition.
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Inc., 208 F. App’x 781, 784 (11th Cir. 2006). “It is critical that the objection be sufficiently

specific and not a general objection to the report” to warrant de novo review. Id.

        As set forth in the R&R, Magistrate Judge Reid finds that the Court does not have

jurisdiction over the Petition because Petitioner is confined in Bibb County, which is located in

the Middle District of Alabama. R&R at 2. Accordingly, Magistrate Judge Reid recommends

transferring the Petition to the Middle District of Alabama.

        “[F]or core habeas petitions challenging present physical confinement, jurisdiction lies in

only one district: the district of confinement.” Rumsfeld v. Padilla, 542 U.S. 426, 443 (2004)

“Whenever a civil action is filed in a court . . . and that court finds that there is a want of

jurisdiction, the court shall, if it is in the interest of justice, transfer such action or appeal to any

other such court . . . in which the action or appeal could have been brought.” 28 U.S.C. § 1631.

Transfer under § 1631 can be initiated sua sponte. Brentwood Inv., LLC v. Stanley, No. 6:13-cv-

1635-Orl-22KRS, 2014 WL 12726559, at *4 (M.D. Fla. Feb. 19, 2014) (citing Trujillo v. Williams,

465 F.3d 1210, 1222 (10th Cir. 2006)).

        Petitioner’s objections are largely incoherent and not relevant to the question of whether

the Court has jurisdiction to consider his Petition. See generally Objs. Indeed, Petitioner does not

specifically object to any of Magistrate Judge Reid’s findings or conclusions. See generally id.

Accordingly, a de novo review of Magistrate Judge Reid’s R&R is not warranted because

Petitioner does not make a “proper, specific objection” to any of Magistrate Judge Reid’s findings.

See Macort, 208 F. App’x at 784. Therefore, the Court agrees with Magistrate Judge Reid’s

finding that the Court does not have jurisdiction to consider the Petition. Moreover, the Court

agrees with Magistrate Judge Reid’s recommendation that the Court transfer this matter to the

Middle District of Alabama.



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       UPON CONSIDERATION of the Petition, the R&R, the pertinent portions of the record,

and being otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that

the R&R (ECF No. 5) is ADOPTED. The Clerk of the Court is DIRECTED to TRANSFER this

action to the United States District Court for the Middle District of Alabama. The Clerk of Court

is instructed to CLOSE this case. All pending motions, if any, are DENIED AS MOOT.

       DONE AND ORDERED in Chambers at Miami, Florida, this ___
                                                             1st day of October, 2020.




                                                K. MICHAEL MOORE
                                                CHIEF UNITED STATES DISTRICT JUDGE


c: All counsel of record




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